                        IN THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE


In re:                                                  ) Chapter 11

TINTRI,INC.,'                                           ) Case No.: 18-11625(KJC)

                                    Debtor.             ) Re: Docket No.: 245

        CERTIFICATION OF COUNSEL REGARDING ORDER APPROVING
    STIPULATION BETWEEN DEBTOR AND 303 MVRP LLC AUTI~ORIZING THE
          DEBTOR TO REJECT REAL PROPE~2TY LEASE AGREEMENT

         The undersigned counsel hereby certifies that:

                   1.        The debtor in the above-captioned case (collectively, the "Debtor") and

303 MVRP LLC("MVRP")have agreed to the terms of the attached Stipulation Between Debtor

and 303 MVRP LLC Authorizzng the DebtoN to Reject Real Property Iease Agreement (the

'"Stipulation").

                   2.        The Stipulation is attached as Exhibit A to the proposed OrdeN Approving

Stipulation Between DebtoN and 303 MVRP LLC AuthoNizing the DebtoN to Reject Real PNoperty

Lease Agreement(the "Prot~osed Order"). Attached hereto as Exhibit 1 is the Proposed Order.

                   3.        The Official Committee of Unsecured Creditors does not object to the

entry of the Proposed Order approving the Stipulation. The Debtor respectfully requests entry of

the Proposed Order attached hereto at the Court's earliest convenience.




'    The Debtor and the last four digits of its taxpayer identification numbers are (6978): The headquarters and
     service address for the above-captioned Debtor is 303 Ravendale Dr., Mountain View, CA 94043.


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Dated: October 8, 2018
      Wilmington, Delaware   PACHULSKI STANG ZIEHL &JONES LLP

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                             AttoNneysfor Debtor and Debtor in Possession




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